     Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 1 of 73




           IN THE CIRCUIT COURT OF FORREST COUNTY, MISSISSIPPI



DIANE ROBERTS                                                  PLAINTIFF

vs                                                  CAUSE NO. 20-132

COLIANT SOLUTIONS, INC.                                         DEFENDANT




I, GWEN WILKS, CLERK OF THE CIRCUIT COURT, IN AND FOR THE COUNTY OF
FORREST, STATE OF MISSISSIPPI, DO HEREBY CERTIFY THAT THIS IS A TRUE COPY
OF ALL DOCUMENTS FILED IN THE ABOVE STYLED CASE.

GIVEN UNDER MY HAND AND OFFICIAL SEAL OF OFFICE IN THE CPil OF
H JTIES URG, FORREST COUNTY, MISSISSIPPI, ON THIS THE   ~          DAY OF
----"-~.........+--......___ _ _, 2018.


                                        GWEN WILKS, CIRCUIT CLERK



                                                                    D.C.




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                                  Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 2 of 73



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                      "-dse Fumg Form
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Administrative Office of Courts

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f>fah1tiff • Panvl~) tnltlally 8rln&1n1 Soit Should Be Entered Firnt - Enter Additional Plaintiffs on Sep1m1te Form
tndividuli\I Roberts                                       Diane
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Addre10f Plal nt lff            28 Harris Drive. Petal. MS 39465
Atttimey (Name & Addreu)              Willie T. Abston. P. 0. Box 320727. Flowood. MS 39232                                                                          99_3....5_ _ __
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        __ <:hec,k ( x) if lndlvldual Defendant Is atting ir\ t!tl)il!cily a:; Bu!!.iness Owner/Operator (d!b/a) or Stak Agi?ncy. and t'nll!r entity:
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                   Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 3 of 73




                            _ _ _ _ _ _ _ _JUDICIAL DISTRICT,                                             CITY OF _ _ _ _ _ __


Do<:ket No. _ __                                                                                                  Dockett No. It Filed
               File Yr                                                        Clerk's Local ID                    Prior to 1/1/94_ _ _ _ _ _ _ _ _ _ _ __


                       DEFENDANTS IN REFERENCED CAUSE - Page 1 of -  Defendants Pages
                  IN ADDITION TO DEFENDANT SHOWN ON CIVIL CASE FILING FORM COVER SHEET

D&f&ndant #2~

Individual;----------
          ta~11<111mt
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                            First.......-----
                                   Name       <
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_Ch&Ck (./) tf Individual Defendant is acting In capacity as Executor(trix) or Administrator(trix) of an Estate. and enter style:

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_Check(./') if Individual Defendant is acting in capacity 85 eu3iness Owner/Operalor (018/A) or State Agency, and ante< flat name below:

      016/A   ~~~~~~~---------~--------------------~~~---~~--

_Check (./) If Business Defendant is being sued in the name of an entity other than the name above, and enter below:
       DIBIA ________.._.____________________________________________                                                                            ~~--~----------




ATTOR~EY   FOR THIS DEFENDANT'. _ _ _ Bar#                     or Name: _____________ Pro Hae Vice(./)_ Not an Attomey(J")_

D•f•ndant '#3:
Individual:---~~----- ----.,...-..,.,,....------ \---,.~---,.,...-.......,,,.-~..,.....                                                                ) -M-iC<l--.-lt:.,..ln,..I:.
                             Lui Nam.,                                        F•f'l! f"eme                         Maiden Name. if Api;jicetfo                                        Jt/Sr/UlllV

_Checit (.1) if Individual Defendant Is acting in capacity as Executor{trix} or Administrator(trix) of an Estate, and ent.er style:
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Business JOHN DOgSJ-5 !Nq1v 1DlJALLiY. JOINTLY AND SEVERALLY
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_Check (.1) if Busln8$$ Defendant Is. being sued In the name of an entity other than thtt name above, and enter below:

      DIBIA _________________~~~----~~----------------------~~-----~
ATTORNEY FOR THIS DEFENDANT; _ _ _ Bar# or Name: _ _ _ _ _ _ _ _ _ _ _ Pto Hae Vice (.I)_ Not an Attorney(.!)_

Defendant #14:
Individual: ______________ -----....-................- - - .,___...,.,,.....,......,.,.._..,....._,_.....,.._
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      DIB/A   -~~~~--------------------------------~~----~~--------------------
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      018/A~~----------------------------~------------------------------------~-
ATIORNEY FOR THIS 0eff!if40AMT. _ _ _ Bar# or Name: _ _ _ _ _ _ _ _ _ _ _ Pro Hae Vic. (.I)_ Not an Attorney(.!}_
 Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 4 of 73
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         Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 8 of 73


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                                                                                                                                 ''''\Ur
              IN THE CIRCUIT COURT OF FORREST COUNTY, MISSISSIPPI

 DIANE ROBERTS                                                                                        PLAINTIFF

 V.                                                       CIVIL ACTION NO.            8:.D ,_ l,3 ~
 COLIANT SOLUTIONS, INC.~
MARK BEARD,
AND JOHN DOES 1 THROUGH 5,
 INDIVJOUALL \',JOINTLY andSEVERALLY                                                         DEFENDANTS



                                                  SUMMONS

· THE STATE OF MlSSISSlPPI
TO:      Mark Beard
         Another Helper Security Service
         97 County Road 1471
         Cullman, AL 35055
                                          NOTICE TO DEFENDANT(fil

THE COMPLAINT WHICH lS ATTACHED TO THIS SUMrvtONS IS JM PORT ANT AND YOU
MUST TAKE lMMEDIAT£ ACTION TO PROTECT YOUR RlGHTS.

        You are required to mail or hand-ddivcr a copy of a written response to the Complaint to Willie
T. Abston, Esquire, the attorney for tl1e Plaintiff{s}, whose po!>t office address is Post Office Box 320727,
Flowood, Mississippi 39232. Your response must be mailed or delivered within (30) days from the dare
of delivery of this summons and complaint or a judgment by default win be entered against )'Ou for the
money or other things demanded in the cornplainl.                                              ,. ..w'li!lllti1
                                                                                            ~"'~~'~\ I . Cl          ''''0
         You must also file the original of your response with lhe Clerk of this Couf~n ·a· nm~~
time afterward.                                                                       ff (J-'               ,,        "·,    1
         Issued under my hand and the seal of said Cou                                :::                                }~~

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Willie T. Abston, LLC (MSB No. 9935)
Post Office Box 320727
Flowood, MS 39232
Tel. (601)487-8839
Fll..lL (601}487-S667
Email: will ie.nb.ston(d:abstoll J;n.vj;Qill
         Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 9 of 73


      case: 18Cl1:20-cv-'-t32                  Document #: 10   Filed: 09'MIJ12020   Page 1of1


               IN THE CIRCUIT COURT OF FORREST COUNTY, MISSISSIPPI

DIANE ROBERTS                                                                          PLAINTIFF

v.                                                        CIVIL ACTION NO.      Gb-}3~.
COLIANT SOLlITTONS. INC..
MARK BEARD~
AND JOHN DOES 1 THROUGH 5.
INDIVIDUALLY ,JOINTL \' andSEVERALLY                                                 DEFENDANTS



                                                    SUMMONS

THE STATE OE !\itlSSISSlPPL
TO:      Coliant Solutions, Inc.
         Registered Agent:
         Corporatation Service Company
         1716 Old Canton Road. suiteC
         Madison, MS 39l JO
                                          NOTICE TO DEFF..NDANT{S)

THE COMPLAINT WHICH IS ATTACHED TO THlS SUMMONS IS IMPORTANT AND YOU
MUST TAKE IMMEDIATE ACTION TO PROTECT YOUR RJGJ ITS.




WHJie T. Abston, LLC (MSB No. 9935)
Post Office Box :320727
Flowood, MS 39232
Tel. (601)487-8839
Fax (601)487-8667
C!mail: willie.~!l~!.9D@l.lbstonlnw.<;_Q.1Jl
         Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 10 of 73


       Case: 18Cl1:20-cv-00132       Document#: 1   Filed: 10/15/2020     Page 1 of 2

             IN THE CIRCUIT COURT OF FORREST COUNTY, MISSISSIPPI

 DIANE ROBERTS                                                               PLAINTIFF

 v.                                             CIVIL ACTION NO.        S-O~{:~:d..;:\±
 COLIANT SOLUTIONS, INC.,
 MARK BEARD,
 AND JOHN DOES 1 THROUGH 5,
 INDIVIDUALLY,JOINTLY andSEVERALLY                                        DEFENDANTS



                                         SUMMONS

 THE STATE OF MISSISSIPPI
·Tb:     ColiantSolutions,Inc.
         Registered Agent:
         Corporatation Service Company
         7716 Old Canton Road, suite C
         Madison, MS 39110

                                  NOTICE TO DEFENDANT(S)

THE COMPLAINT WI-ITCH IS ATTACHED TO THIS SUMMONS IS IMPORTANT AND YOU
MUST TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS.




Willie T. Abston, LLC (MSB No. 9935)
Post Office Box 320727
Flowood, MS 39232
Tel. (60 I )487-8839
Fax (601)487-8667
Email: willie.abston@abstonlaw.com
              Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 11 of 73


      Case: 18Cl1:20-cv-00132           Document#: 1         Filed: 10/15/2020   Page 2 of 2

RECEIVED THIS - - - DAY OF - - - - - - -, 2020.


BY:


                                              RETURN
Stateof        Mi$i85ippi
County of        Madi~
  I\. I   (Ii}    I personally delivered copies of the summons and complaint on the   ~    day of
__,~~.-..flee:""'-----' 2020, to: Cirp{J(ttfi'l>I.. Se;vtce. ~·

       { ) Aftef exerCisilig reasonable diligence I was unable to deliver copies of the summons
and complaint to           within                      County,                      . I served the
summons and complaint on the _ _ day of                             , 2020, at the usual place of
abode of said                     , by leaving a true copy of the summons and complaint with
                         , who is the                            (here insert wife, husband, son,
---------
daughter or other person so as the case may be), a member of the family of the person served
above the age of sixteen years and willing to receive the summons and complaint, and thereafter
on the                 day of                           , 2020. I mailed (by first class mail,
postage prepaid) copies to the person served at his or her usual place of abode where the copies
were left.

          (    ) I was unable to serve the summons and complaint.


          This the   ~     day of   {}eJn/oer       '2020.




By: - - - - - - - - - - - ' Deputy Sheriff



If served by Sheriff, provide name of County


[Note: All swnmons issued to the sheriff must be returned within thirty days from the day the
summons was received by the sheriff pursuant to the requirements of Mississippi Rule of Civil
Procedure 4(c)(2)]
       Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 12 of 73


      Case: 1ac11:20-cv-00132             Document#: 3                  Filed: 01/13/2021           Page 1 of 2


              JN THE CIRCUIT COURT Of FORREST COUNTY, \USSISSIPPI

DIANE ROBERTS
                                                       FILED                                            PLAINTIFF

v.                                                   JA ...U 13 ')'".'l·j
                                                                        L.~1L I
                                                                                     CIVIL ACTION NO. 20-132
                                                             ;;;}"""c.:..:ds
COLIANT SOLUTIONS, INC.1                        fORREST COUNTY CIRCUIT CL£RK

MARK BEARD.
AND JOHN DOES I THROUGH 5,
INDIVIDUALLY,J01NTLY andSEVERALL Y                                                                  DEFENDANTS
                  APPLICATION TO CLERK FOR ENTRY
                OF DEFAULT AND SUPPORTING At'J'IUAVfT

The clerk is requested to enter default against the defendant in the above entitled action for failure to
plead, answer or otnern·ise defend as set out in the affidavit hereto annexed.

The attorney for the Plaintiff in the State of Mh;sissippi and in lhe County cf Rankin, being duly
sworn. deposed and says:

1. That he is altomey of record      or the ?laintifl~ and has personal knmvledge of the facts set forth in
   this affidavit.

2. That the Dcfondnnl was duly served with a copy of the summons. together with a copy nf
     Plaintiff'1'l complaint. on the 9111 day of October, 2020.

3. That more than 30 days have elapsed sint:e the date on which thl! said dcfondant was served with
   summons and a copy of the complaint.

4. That the defendant has fa lied to answer or othenvise defend as t,1 Plaintiff's complaint, or serve a
                                                         1



   copy of any answer or other delense which he might have upon the undersigned attorney of
   record for the plaintiff.

5. That this atl'ida,·it is executed by affiant herein in accordance with Rule 55(a) of the Mississippi
   Rules ~Jf Civil Procedure. for the purpose of enabling lhe ph~inliff to obtain an entry of defauJt
   against the defendant, for his failure to answer or otherwise defend as to the plaintiffs complaint.

                                                                               ~~;,'I:;,lf? -
                                                                               Attorney for Plaintiff


         Sworn tu and   sub~<.:ribcd bdorc me this. the ~ day of~~-· 2021.


        My Commission Expires:        ~Va It,~~
                                           .
      Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 13 of 73

                                                                                                    Post Office Box 320727
                                                                                      Pa        '2oO'fOfi·
                                                                                                         Mississippi 39232
                                                                                           g8         Phone: 601.467.8839
                                                                                                         Fax: 601.487.8667




                                             January 7. 2021



Circuit Clerk of Forrest County
630 Main Str~et
Hattiesburg, MS 39401


        Re~     Diane Robert~; v. Colian! Soh1tions, Inc. et al;
                In the Circuit Court of Forrest County, Mississippi
                Civil Action Ku. 20-132

Dear Sir/Madam:


        Endn~ed please fin<l for flling a \tfotinn for Default Judgment along with the Declar.ition,
Clerk entry of default judgment and application in tht: ub(lVt: referenced matter.

        If you havt:: any   question~, plt~ase   feel free to contact my office. Thank you for your kind
attention to this matter.

                                                   Sincerely,

                                                    WlLUE T. ABSTON. LLC

                                                      J-0 ~,           '\l.~
                                                   Willie T. Abston,   F~.
WTAlyk
Enclosures
      Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 14 of 73


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            lN THE CIRCUIT COL'RT Ofl FORREST COUNTY~ MISSISSIPPI
                                                 1




DIANE ROBERTS                                 Ff LED                                            PLAINTIFF
                                                       1 'J ':·; '..;
v.
                                                 ~I
                                             JA. .t     I   J   L·,, ...         CIVIL ACTION NO. 20rl32
                                                     j,.,,...i:;.:d,
                                      FORllEST COUN1'Y Cl ~turr CLERK
COLJANT SOLUTIONS, INC.,
MARKBEARDt
AND JOHN DOES 1 THROUGH 5,
INDIVIDUALLY,JOJNTLY andSEVERALL Y                                                             DEFENDANTS

                       -
                              ENTRY OF DEFAULT .JUDGMENT



        Default entered against defendant this        ~-d-a_y_.o"""'f
                                                              -~·-------~-. • 2021.
                                                ~RK
        RespectfuUy Submitted,

                  ~
       This the - - dav
                      ., of            :Ia~--·--_, 2021.
                                                 lJiane Roberts. Plaintiff


                                       BY:            f R.;_ 1',,~t
                                                 \VILLIE T,   ~N:
                                                                    ,.--._
                                                                                   ESQ.
                                                 MS Bar ]\;o. 993 S



WILUE T. ABSTON, LJ.C
P. 0. Box 320727
Flowood, MS 39232
Tel.: (601 )487-8839
Fax: (601)487-8667
Email: wil lic.ab§ton(d':abstonlitw .com
ATTORNEY FOR PJ .A lNTIFF
     Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 15 of 73


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                             IN THE CIRCUIT COURT OF
                           FORREST COUNTY, MISSISSIPPI




 Diane Roberts,                                 Cause No. 18CI1:20-cv-132

                                    Plaintiff

        v.                                      Answer and Defenses


 Coliant Solutions, Inc., Mark Beard,
 andJohn Does I through 5,
 Individually, Jointly and Severally,


                                  Defendant




      COMES NOW, the defendant, Coliant Solutions, Inc. through counsel, and

responds to the allegations in the Complaint as follows:

                                 FIRST DEFENSE

      The complaint fails to state a claim upon which relief can be granted and it

should be dismissed pursuant to Rule 12(b)(6) of the Mississippi Rules of Civil

Procedure.

                               SECOND DEFENSE

      Coliant Solutions, Inc. generally denies all the averments contained in the

Complaint, and each paragraph and subparagraph thereof, except such designated

averments, paragraphs or subparagraphs, as are expressly set forth to the contrary

more fully herein below pursuant to Rule 8(b) of the Mississippi Rules of Civil

Procedure.

                                          1
      Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 16 of 73


    Case: 18Cl1:20-cv-00132       Document#: 6      Filed: 01/13/2021   Page 2 of 8


         AND NOW, Coliant Solutions, Inc., without wa1vmg any of the above-

referenced defenses, responds to each and every numbered paragraph in Plaintiff's

Complaint, as follows, to-wit:

                            JURISDICTION AND VENUE

         1. Plaintiff, Diane Roberts is an adult resident citizen of Forrest County,

Mississippi.

         Response: Admitted.

         2. Defendant Coliant Solutions, Inc. is a foreign corporation, which is

registered and doing business in Mississippi, which may be served through its

registered agent, Corporation Service Company at 7716 Old Canton Road, Suite C,

Madison, MS 39110.

         Response: Admitted.

         3. Defendant, Mark Beard is owner of Another Helper Security Service and

may be served at his business address located at 97 County Road 1471, Cullman, AL

35055.

         Response: The allegations in this complaint do not pertain to Coliant

Solutions, Inc. Therefore, no response is required of this Defendant.

         4. This suit is brought for an amount above the minimum jurisdictional limits

of this Court and that this Court has or can obtain jurisdiction of the parties and the

subject matter and that venue is based on the fact that the incident occurred in

Natchez, Adams County, Mississippi.




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      Response:    Denied.   Coliant Solutions, Inc. does       not contest personal

jurisdiction or subject matter jurisdiction. It is admitted that venue is proper in

Forrest County (not Adams).

                                        FACTS

      5. On or about, October 1, 2017, the Plaintiff was an employee of Walmart

Store #887 located at 36 Byrd Blvd., Petal, MS. Plaintiff was working in the

accounting office and as she was exiting the office, a security camera system that had

not been secured fell on her head. The Defendants, Walmart Stores, Inc. and Coliant

Solutions, Inc., owed a duty to the Plaintiff to keep the premises of the Walmart Store

business office in a reasonably safe condition, to warn the Plaintiff of any dangerous

conditions not readily apparent of which it knew or should have known in the exercise

of reasonable care, and to conduct reasonable inspections to discover dangerous

conditions existing on the premises of Walmart Store #887.

      Response: Coli ant Solutions, Inc. lacks sufficient information or knowledge to

admit or deny the allegations in this paragraph. Therefore, the allegations are denied.

      6. The Defendants, Walmart Stores, Inc., and Defendant Coliant Solutions,

Inc. breached its duties owed to the Plaintiff in the following ways:

      a.     Defendants failed to maintain the premises of Walmart Store #887 in

             reasonably safe condition;

      b.     Defendants allowed a security camera system that had not been secured

             fell on Plaintiff's head when the Defendants knew, or in the exercise of

             reasonable care, should have known, that the hazard creased an




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             unreasonable risk of harm to employees m the business office of

             Walmart store 4887;

      c.     Defendants failed to warn Plaintiff of the danger presented by the

             presence of the unsecured security system;

      d.     Defendants failed to properly inspect the premises in order to discover

             hazardous conditions on the premises of Walmart Store 4887;

      e.     Defendants failed to otherwise exercise due care with respect to the

             matters alleged in this Complaint.

      Response: Denied.

                                     DAMAGES

      7. As a direct and proximate result of the negligence and carelessness of the

Defendants, the Plaintiff:

      a.     suffered serious, painful, temporary, and permanent bodily injuries,

             great physical pain and mental anguish, severe and substantial emotional

             distress, loss of the capacity for the enjoyment of life;

      b.     was, is, and will be required to undergo medical treatment and to incur

             medical costs and expenses in order to alleviate injuries, pain and

             suffering;

      c.     was, is and will be precluded from engagmg m normal activities and

             pursuits, including a loss of ability to earn money and of actual earnings.

      Response: All allegations of negligence and carelessness are denied. With

regard to damages, Coliant Solutions, Inc. lacks sufficient information or knowledge

to admit or deny those allegations. Therefore, the allegations are denied.



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      WHEREFORE, PREMISES CONSIDERED, the Plaintiff requests a trial by

jury and demands judgment of and from the Defendant in an mount in excess of the

minimum jurisdictional limits of this Court with such amount to be determined at

the trial of this cause together with reasonable attorney's fees, costs of litigation and

pre and post judgment interests pursuant to Mississippi Code Annotated Section 75-

17-7 as allowed by law and all costs of Court.

      Response: In response to the unnumbered ad damnum paragraph, the

Defendant denies that the Plaintiff is entitled to a judgment from Coliant Solutions,

Inc.in the amount demanded, or in any amount whatsoever.

      AND NOW, RESPONDING AFFIRMATIVELY, Coliant Solutions, Inc. would

show unto the Court the following, to-wit:

                         FIRST AFFIRMATIVE DEFENSE

      Coliant Solutions, Inc. would affirmatively plead Mississippi Code Annotated

§ 11-7-15 (1972) and § 85-5-7 (Rev. 1991) and would aver that the acts or omissions of

others, for whom this Defendant has no responsibility or liability, are the sole

proximate, or contributing, cause of the Plaintiff's injury and that a jury must be

allowed to assess the proportionate share of fault to said parties and/or participants.

                       SECOND AFFIRMATIVE DEFENSE

      Coliant Solutions, Inc. avers that he exercised the degree of care which a

reasonably prudent person would have exercised in the same or similar circumstances

and thus did not breach any applicable duty owed to Plaintiff.

                        THIRD AFFIRMATIVE DEFENSE

      The Plaintiff has failed to mitigate her damages as required by law.



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                       FOURTH AFFIRMATIVE DEFENSE

       In the event subsequent investigation reveals that the sole proximate, and/or

contributing, cause of the Plaintiff's damages, if any, was a preexisting condition,

disease, lesion or other illness for which this Defendant would not be liable, the

Defendant reserves the right to defend on said basis.

                         FIFTH AFFIRMATIVE DEFENSE

      The Defendant would aver that the Plaintiff has failed to join an indispensable

party whose presence is needed for a just adjudication of this matter since complete

relief cannot be afforded in said party's absence and due to the fact that said party

has an interest relating to the subject matter and is so situated that a disposition in

said party's absence may (i) impair or impede the person's ability to protect that

interest, or (ii) leave the Defendant subject to a substantial risk of incurring double,

multiple, or otherwise inconsistent obligations.

                         SIXTH AFFIRMATIVE DEFENSE

      In the event subsequent investigation reveals that the Plaintiff's damages, if

any, are the result of an intervening act and/or event occurring subsequent to October

I, 2017, which was the sole proximate and/or substantially contributing cause,

Coliant Solutions, Inc. reserves the right to defend on said basis.

                      SEVENTH AFFIRMATIVE DEFENSE

      Coliant Solutions, Inc. reserves the right to affirmatively plead any and all

other defenses and affirmative defenses available to him which may become

applicable through discovery and during the trial of this cause.




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                       EIGHTH AFFIRMATIVE DEFENSE

       The facts not having been fully developed, the defendant adopts the following

affirmative defenses: accord and satisfaction, arbitration and award, assumption of

risk, contributory negligence, discharge and bankruptcy, duress, estoppels, failure of

consideration, fraud, illegality, injury by fellow servant, laches, license, payment,

release, res judicata, statute of frauds, statute of limitations, waiver, and any other

matter constituting an avoidance or affirmative defense as may be shown by the fact

in this cause.

      WHEREFORE,         PREMISES       CONSIDERED,        Coliant     Solutions,   Inc.

respectfully requests that this Answer be received and deemed sufficient and that a

Judgment be entered in its favor denying the relief requested by the Plaintiff and

dismissing this action with prejudice with costs being assessed against the Plaintiff.

Coliant Solutions, Inc. also prays for any general relief which the Court may deem

appropriate in the premises.

      Respectfully submitted, this the 13th day of January, 2021.




H. Wesley Williams, III
MS Bar No. 9320
Markow Walker, PA
Post Office Box 13669
] ackson, MS 39236-3669
Telephone: 601-853-1911
Facsimile: 601-853-8284
E-mail: wwilliams@markowwalker.com
Counsel for Coliant Solutions.) Inc.




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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the above and foregoing Pleading was this day forwarded

to all counsel of record by depositing a copy of same via:



                         D    United States Mail        D    Certified Mail

                         D    Facsimile                 D    Hand Delivery

                         D    Email                     D    Overnight Mail
                         ~    ECF System


       THIS the 13th day ofJanuary, 2021.


                                                    tfa
                                                   H.
                                                            wJu/~
                                                      W~Williams,             III




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                                                                                FILED
                              I>l THE C1RCUIT COURT OF
                            FORREST COUt\TY, MISSISSIPPI                       FEB 2 ~ 2021
                                                                       FORREST   co~~~CUIT CLERK

 Diane Roberts,                                  Cause :Jo. 18CI1 :ZO-cv~l32

                                     Plaintiff

        v.                                       Motion to Set Aside
                                                 Clerk >s Entry of Default

 Colianl Solutions, Inc., Mark Beard,
 and John Does I through s,
 Individually~Jointly a.rid Severally,



                                  Defendant




      COMES NOW, the Defendant, Coliant Solutions, Inc. through counsel, and

herby moves this Court to set aside the Clerk's Entry of Default as follows:

                                     I.    FACTS

      This action arises out of an incident which occurred on or about October 1,

2017, wherein the Plaintiff was allegedly struck in the head by a falling secmity

camera as she was leaving her place of employmenl at the Walmart Store #887 located

at 36 Byrd Boulevard in Petal. Mississippi. The Plainliff filed her Complaint on

September 30 1 2020, which was served upon Defendant, Coliant Solutions, Inc .• via

its registered agent on October 9, 2020. On January 7 > 2021, the Circuit Clerk of

Forrest County 1 Mississippi> filed an F.nrry of Defoulc, by \vbich time Defendant

Coliant Solutions 1 Inc. had not filed an Answer to the Plaintiff\s Complaint. 111

support of her Motion for Default Judgment, .also filed January 7, 2021, lhc Plaintiff
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alleged that the Defendant Colfont Solulions> Inc. had foiled to meet the procedural

time requirement in filing its Answer or other defense. On January 13, 2021,

Defendant Cohant Solutions, lnc. fiJcd           hs Answer and Defenses (Doc. #6), wherein

it asserted a general denial of liabiHty, as wcJl as multiple defenses to the Plaintiffs

claims.

                                   Il.     LAW AND ARGUME.NT

          a. Standard for setting aside an Entry of Default

      It has b~en long established in Mississippi that            14
                                                                       (d)efault j udgmcnts are not

favored, and trial judges have traditionally been lenient when it comes to rcJicving a

party of the burden of a default judgment.)) King v.             Sign~st,   641 So. 2d 1158, 1161

(Miss. 1994) 1 quotjng Bell v. City of Bay St. Louis, 467 So. 2d 657, 661(Miss.1985).

Rule 55(c) of the Mississippi RuJcs of Civil Procedure. provides procedural

mechanisms regarding setting aside an cncry of default:

      (c) Setting Aside Default. For good cause shown, the court may set aside an
      entry of default and, if a judgment by default has been entered, may likewise
      set it aside iu accordance with Rule 60(b).

MISS. R. Ctv. P. 55(c). Subsections (a) and (b) of Rule 55 also establish the dear

distinction between an entry of default and a default judgment. The standard for

obtaining and setting aside a clerk's entry of default i!i different from thal required

to obtain and set a.side a courtls adjudication of default. MlSS. R. Crv. P. 55(c); see

also_, Windmon   11.   1\rfarshall, 926 So. 2d 867, 871 (Miss. 2006), Allstate !tu. Co. -v. Green,

794 So. 2d 170, 178-179 (Miss. 2001). In the instant case, Defendant Coliant

Solutions, Inc. is asking this Court only to set aside the clerk's entry of default;

presently, no default judgment has been entered against Defendant.



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      The   Mi.ssis~ippi   Supreme Co\1rt has held that to set aside an entry of default,

nothing other than good cause must be shown. Tatum ~. Barre>1tine, 797 So. 2d 223,
                             11
227 (Miss. 2001). This is         a more liberal standard for setting aside a default than the

standard for setting aside a default judgment." King v Sigresi, 641 So. 2d 1158, 1162

(Miss. 1994); see also, Windmon, 926 So. 2d at 871.         cc'   Good cause shown) [ ... ] requires

the moving party to provide an explanation for the default or give reasons why

vacation of the default entry would serve the interests of justice.,, King :v. Bunton, 43

So. 3d 361. 364-365 (.rvlis.•L 2010), quoting W'iruimon, 926 So. Zd at 871 and Green, 794

So. 2d at 179.

      In determining whether good cause exists for setting .i side entry of default, the

Court may consider such factors as clerical mistakes, misunderstanding, or failure to

receive service of process. Allsiau, 794 So. 2d at 179 (Waller, concurring). "Good

causen is difficult to define; however> when considering whether set aside a clerk>s

entry of default, courts have applied a more lenient version of the standard to set

aside a judgment of default. Allstate Settlement Corp.            P.   Huie, 2010 U.S. Disl. LEXIS

14098 (N.D. Miss. 2010). A default judgment "should not be granted on the cJaim,

without more, that the defendant had failed to meet a procedural time requirement.,,

Jd. (Emphasis added). "[W]here there arc no intervening equities any doubt should,

as a general proposition 1 be resolved in favor of the movant to the end {)f securing a

trial upon the merits." Lacy v. Site! Corp., 227 F . .3d 290, 292 (5th Cir. 2000) (quoting

Gen. Tel. C()rp. v. Gen. Tel. A'1swuing Serv.) 277 F.2d 919 at 921.

      '' [Dlcfault judgments are not favored and trial couns should not be grudging

in the granting of orders vacating such ju<lgmentl; where showings within chc rules

have arguably been made." McCain            l-'.   Dauzat, 791 So. 2d 839, 842 (Miss. 2001),
                                                    3
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quoting Gt+aranty Nat'/ Ins. Co. 1.>. Pittman, 501 So. 2d 377, 387-388 (Mjss. 1987). The

importance of litigants having a tr1al on the merits should al ways be a serious

consideration by a trial judge in such matters. Thus, any error made by a tdal judge

should be jn the direction of scuing aside a default judgment and proceeding with

trial. AU.ftate Ins. Co.   P.   Green, 794 So. 2d 170, 174 (Miss. 2001).

       Even when dealing with a defauJt judgment as opposed to the more lenient

entry of default, the Mississippi Supreme Court has explained that default       judgment~


are never favored. Chassanoil v. Bank of Kilmichael, 626 So. 2d 127, 135 (Miss. 1993)

("[R]elief should be granted when there is a showing within the rules.n}. Although a

three-part baJancing test exists for setting aside a default judgment, the Mississippi

Supreme Coun has held that the three-part test is not applicable to setting aside an

entry of default. Barrentine, 797 So. 2d 223 at 227.

          b. Good Cause exists for setting aside the Clerk>s January 7 1              2021~
             Entry of Default.

       As pointed out by Justice Waller 1 s concurrence in Green., supra 1 a court may

consider, inter alia, che enumerated tea!>ons under Rule 60(b) to determine whether

"good cause n exists for setting aside an entry of default. "'Good cause shown 1           ...




requires the moving party to provide an explanation for the default or to give reasons

why vaeation of the default entry wouJd serve the interests of justice. Any of the

reasons sufficient to ju~tify the vacatjon of a default judgment under Rule 60(b)

normally will justify relief from a default entry{.] )I Green, 794 So_ 2d at 179. The

reasons sufficient to justify vacating a default judgment under Rule 60(h) include

"(1) whether the defendant has good cause for the defau1t, (2) whether lhe defendant

in fact has a colorable defense to the merits of the claim, and (3) the nature and extent

                                                 4
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of prejudice to the plaintiff jf the default judgment t!> set aside.n Green, 794 So. 2d

at 174.

          Here, Defendant CoHant Solutions, Inc. has a cnlorable defense on the merits

to PJaintiff's. claims. At the time of the incident which resulted in Plaintiff's alleged

injuries, CoHant Solutions was subject to a 1 ' Mascc·r Subcontractor Agreemene' with

Another Helper, which is owned by Defendant Mark Ben rd. Exhibit A. Pursuant to

that agreement, Another Helper was obligated to defend indemnify, and hold

harmless Coliant Solutions for the claim that has been mac.le by Plaintiff. Coliant

SolUfions tendered the defense of this claim by letter sent September 1O, 2020> after

Coliant and its insurer became aware of the forthcoming litigation. Said letter is

attached hereto as Exhibit B. Coliant Solutions} failure to timely answer Plaintiff>s

Complaint was the resu)t of their reasonable reHance on their indemnification

agreement       with   Another   Helper,    which    was   memoria1ized      in   the   Master

Subcontractor Agreement.

          Additionally, the Plaintiff has asserted no facts that point to any prejudice she

would suffer if the Entry of Default were aside, The Plajntiff has presented no           basi~


other than Defendant's failure to cimcly answer her Complaint as support for her

Motion for Default Judgment. As noted by the Huie court) supra} claims thac a

defendant failed to meet a procedural time requirement, withour more) cannot serve

as a basis for entering a default judgmc:nt. Thus, the Plaintiff has not provided this

Court with adequate basis for granting the relief rcqucstc<l in her motion.

          In keeping with the axiom that default judgments are not favoredi the

Mississippi Supreme Court has heJcJ that the existence of defenses alone constitutes

good cause to set a.side a clerk l s entry of dc·fault. ' 1 ln Barrentine's motion to set aside
                                               5
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the entry of default, she argued several defenses ... Based on the rccordl we hold that

the circuit judge was certninly v..-ithin his discretion to set aside this entry of default.

Barrencine)s motion provided numerous defenses that established •good causc 1

consistent with M.R.C.P. 55(c}.n Tatum, 791 So. 2d at 227.

        In the Grtttt case, the= Mississippi Sllpreme Court found that of the three

factors examined to set aside a default judgment, 1 uthe           sc~cond   factor. the presence

of a colorable defense, outweighs lhc other two, and we have encouraged trial courts

to vac-atc a default judgment where 'the defendant has shown that he has a

mericorious defense. 1     "   Green, 794 So. 2d at 174. The court emphasized that "the

importance of litigants having a trial on the merits should alway!> be a serious

consideration by    <l   crial judge in such matters.n ld. The Mississippi Supreme Court

has held that even a default }ttdgmnu should be vacated when defendant demonslratcs

that he has a "meritorious defense.,,                Green, 794 So. 2d       :it 174,   The same

consideralions should apply in this case to set aside the clerk's entry of default

against this Defendant.

                                     III.   CONCLUSION

        Mississippi law strongly prefers a di~position of laws\lits on the merits, rather

than by default. The legal standard to set aside an entry of default is more lenient

lhan that required ttJ set aside a default judgment. Importantly, relief from an entry

of default should he granted where the defending party acts with reasonable diligence

in seeking a set aside of default and tenders a meritorious defense. Defendant Coliant




1
 It should again be noted that the Mississippi Supreme Court ha held specifically thu the
three-part test is not applicable lo setting aside the clerk's entry uf default. Barrentine, 797
So. 2d 223 at 227. However, rhe weigtn gi~·en ro a colorable defense t:J in~tructive here.
                                                 6
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                                    CERTl.FICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the above and foregoing Pleading was this day forwarded

to all C{)unsel of record by depositing a copy of same via:



                          D     United State.s Mail        D   Certified Mail

                          D     Facsimile                  D   Hand Delivery
                          O     Email                      O   Ovcmight Mail
                          181   ECF System

       THIS the 22th day of Februarv, 2021.



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                                                      WcskYW-iams, 111
                                                      H.
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                 andperformingthe                 Contractor's                        work
                 toavoidconmctsorinterferenceintheSubcontractor'sworkandshall expedite
                 written responses to submittaJs made byrhe Subcontractor in accordance
                 with this Agreement.Assoonaspracticableafterexecutionoftl1isagreement,
                 the
                 ContractorshaJlprovidetheSubcontractorcopiesoftheContractor'sconstructi
                 onschedule       andscheduleofsubmittals. together   withsuchadditionaJ
                 schedulingdetailsas..viilenable      the         Subcontraclortoplanand
                 pertormtheSubcontractor'sworkproperty. TheSubeontractorshaU
                 benotifiedpromptly
                 ofsubsequentchangesintheconstructionandsubmitschedulesand
                 additionalschedulingdetails.

 3.2    COMMUNICATIONS

        3.2.l TheContractorshanpromptly
                 makeavallabletotheSubcontractorinfofmationwhichaffects
                 thisSubcontractand              1.vhichbecomesavailabletotheContractor
                 subsequenttoexecution of thisSubcontract.

        3.2.2 TheContractorshallnotgiveinstrucuonsorordersdirectlyto employees or
              workmen of Subcontractor, except to persons designated as authorized
              representatives of the Subcontractor. The Contractor shall have full
              access, including names and cell phone and/or pager numbers of
              technicians i.vtio will perform work. The Subcontractor agrees to only
              communicate with the Contractor regardtng ail communication reference
              lo projects performed by the Subcontractor for Contractor.

        3.2.3 Ttie Subcontractor shall not communicate with the Owner/Customer
                 regarding the scheduling of work.

        3.2.4 The Subcontractor shall indicate they are representing Contractor
              while pertorming the work for the Owner/Cusromer.            The
              Subcontractor shall. undeJ no circumstances, hand out business
              cards or other company related items to the Custnm?.r.

        3.2.5 The Subcontractor shall communicate all terms and conditions of tnrs
              agreement within their organization.

 3.3    CLAlMSBYTHECONTRACTOR

        3.3.1 liquidaleddamagesfordelay,lfprovidedforinthisagreement,         shall    be
                 assessed
                 againsttt1eSubcontracturonlytotl1eextentcausedbytheSubcontractor.U1e
                 Subcontractor'semployeesandagents.Sub-subcomractors.suppliersorany
                 personorentity forwhoseacts theSubcontractor maybeliable.


Revised Janut.ry 06. 2015                       ·2·
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         3.3.2 Exceptasmaybeindicated                            in                      this
                 Agreement.theContractoragreesthatnoclaimfor                        payment
                 forservicerenderedormaterialsandequipmentfumishedby
                 theContractortothe
                 Subcontractorsharlbevalidwithoutpriorpurchaseorderissuedby
                 theContractortothe Subcontractor. Verbal orders W'illnotbeprocessedfor
                 payment.


  3.4    CONTRACTORSREMEDIES

         3.4.1 If the Subcontractor defaults or neglec[s to carry out the work in
               accordance wm1 (f1is agreementandfails withinthree workingdaysafter
               receiptof writtennoticefromtheContractor to commence and continue
                 correction   of   such   default   or     neglect    with   diligence   and
                 prornptness,theContractormay,afterttlreedaysfollowingreceiptby
                 theSubconm~ctorofan
                 additionalwrirtennotice .andwithoutprejudicetoanyotherremedytheContract
                 ormay             have.             makegoodsuchdeficicnciesandmay
                 deductthecostthereottromthepayrnentsthenor
                 thereafterduetheSubcontractor,ForexnmpleifSubcontractordoesnotcompl
                 eteasite
                surveytheContractorcanemploya notherSubcontractonope rf or mthelaboratt
                heexpense oftheoriginalSubcontractor.

 3.5    INVOICING

        3.5.1 Forallworkthathasbeen           completedtolOO%.theSubcontractorshall
              communicate.either                 by               fax              or
              email,withinten(10)cfays,acompleteinvoicetorallwo1kpertormed along with
              any and all signed paperwork necessary for Contractor to invoice
                customer.      IMPORTANT-lfSubcontractordoesnotinvoiceContractor
                withhlft!bovetimeframe.thirtv:                                 da~s
                {30}.theSubcontractoragreesnottosubmitan          invoice   forwork
                ptovidedartd the work wiU ,Pe et nsu;ost to the Contractor.


ARil~LE~SUBCONTRACTQB


 4.1 EXECUTIONAND PROGRESSOFTHEWORK

        4.1.1 The subcontractor shall cooperate V'flth the Contractor in scheduling
                andperformingthe Subcontractor's WO(ktoavoidconflict,delayln or
                interference 'Mththeworkof theContractor.




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         4.1.2 TheSubcantractorshallpromptly
                  submitpro}ectplans,dra\Nings, producrdata.                     sarnplesand
                  similarsubmittalsrequiredby
                  theSubcontractOocumentswithreasonablepromptnessandin
                  suchsequenceastocausenodelay
                  rnttieworkorintheactivitiesoftheContractororother subcontractors.

         4.1.3 lfrequested, theSubcontractorshallsubmttto                    theContracwra
                  scheduleofvaluesallocatedto
                  thevariouspartsoftheworkolthisSubcontract,aggregating
                  theSubcontractsum. madeout
                  insuchdetailastheContractorandSubcontractormay
                  agreeuponorasrequiredby                                                 the
                 Owner .andsupportedbysuchevidenceast11eContractormaydirect.ln
                 applyingforpayment,     the  Subcontractor    shallsuhmitsta1ements
                 baseduponthisschedtrle:

         4.1.4
                       TheSubcontractorshallfurnishtotheContractorperiodicprogressrepo
                 rtsonthe                 workofhis               Subcontractasmutually
                 agreed,includinginformationonthestatusofmacerialsand        equipment.
                 whichmaybein thecourseof preparationorrnan ufacture.

         4.1.5
                       TheSubcontractoragreesthattheContracrorwillhavetheauthoritytorej
                 ectworkthatdoes       notconformtoaspecificationorthescopeofworkdefined
                 inthepurctlase orderissuedbythe Contractor.

         4.1.6 TheSubcontractorshaJlpay                          for                       ail
                 materials;equipmentandlaborusedinconnectionwiththe
                 performanceotthisSubcontractthroughtheperiodcoveredby
                 previouspaymentsreceived          fromtheContractor .andshall        furnish
                 satisfactoryevidence. whenrequestedbytheContractor.                        to
                 verifycompliancewiththeaboverequirements.

         4.l.7
                       Tl1eSubcontractorshalltakenecessaryprecautionstoprotectproperlyt
                 heworkofother subcontractorsfromdamageca usedbyoperationsu nderthis
                 Subcontract.

         4.1.8 TheSubcontractorshallcooperatewiththeContractor,                        other
                 subcontractorsandthe Owner's own forces whoseworkmightinte1-fere
                 vviththeSubcontractor's work,

  4.2    LAWS, PERMITS,FEES,UCENSESANDNOTICES



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           4.2. l TheS ubcontractorshallgivenoticesandcomply
                    withlaws,ordinances.rules,regulationsand
                    ordersofpublicauthoritiesbearingonpertormanceofworkfromresultingpurch
                    ase                orders.            TheSubcontractorshallsecureandpay
                    forpermitsandgovemmentalfees,licensesand           inspeclionsnecossary
                    forpraperexecutionandcompletionoftheSu bcontr actor'slNOrk, the furnishing
                    of which it is requiredof theContraccorbythePrimeComract.

           4.2.2
                               TheSubcontractorshallcomptywiU~federal,stateandlocaltaxla1NS.soci
                    alsecurity           acts,         unemploymentcompensationactsand
                    workers'orworkmen'scompensationactsinsoraras
                    applicabletotheperformanceofthisSubcontrac(.ThesubcontractorwilJcompl
                    y                                                               with and
                    performitS\~rkaccordingtotheNa!iona!ElectricalCodes.IEEE.andBCSlmet
                    nOdsotoata                  ·
                    ornetworkcabJinginstallationaswellasEIAfTIA.Subcontractormustbe
                    licensedtoperform
                    worldnnflstates,count.ies,cities,andmunicipaliticswherework\Nill         be
                    performed.
                    Subcontractorswill.upornequestbyContractor,furnishContractorwith
                    license certificate.


   4.3     SAFETYPRECAUTSONSAND PROCEDURES

           4.3.1 TheSubcontractorshaJI                 take                          reasonable
                 safetyprecautionswithrespecttoperformanceof                                this
                    Subcontract.shallcomplywithsafetymeasuresinitiatedby
                    theConuactorandwitha.pplicable
                    laws.ordinances,rules,regulationsandordersofpublicauthoritiesforthe
                    satetyotpersonsor                                                property
                    inaccordancewiththerequirementsoh:hePrimeContract.
                   TheSubcontractorshall
                    reporttotneContractor,withinthreedays,aninjurytoanempioyeeoragent
                    ofthe Subcontractor, whichoccurredatthesite.

          4.3.2 If           hazarcioussubsr.ancesof                                     atypeof
                whichanemployerisrequiredbylawtonotifyits
                    employeesarebeingusedonthesiteby
                   theSubcontractor,oranyonedirectlyorlndirectiyemployedbythem,the
                   Subcontractorshall, prior
                   toharm1ulexposureofanyemployeesonthesitetosuchsubstance ,givewritten
                   noticeofttie chemicalcompositionthereoflotheContractorinsufficientdetair
                   andt.imetoperrnit
                   compliancewithsuct1!awsbytheContractor ,othersubcontractorsandotherem


  RE'Vise<I Ja11wuy 06. 2015                        .5.
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                 ployerson the site.

        4.3.3
                            lntl'leeventtheSubcontractorencountersonthesitematerialrea.sonabl
                 ybelievedtobe        asbestos     or    polychlorinatedbiphenyl{PCB),           which
                 hasnotbeenrendered      harmless, the     Subconuactorshallimrnediately
                 stopworkintheareaaffectedand                      reportthecondit1ontothe
                 Contractorinwriting.Theworkin       theaffectedareashaJlresume          in
                 theabsenceo1                         asbestos                           or
                 polychlorinatedbiphenyl(PCB).orwhenitt1asbeenrenderedharrnless,by
                writtenagreement
                oftheContractorandSubcontractor,orinaccordancewithfinaldeterrninationb
                 y           thearcnitect   onwhicharbitrationhasnotbeendemanded.orby
                arbitrationasprovidediothisagreement.     TheSubcontractorshaJlnot   be
                 requiredpursuanttoAnicle5mperformwithout                    consentany
                ~workrelatingtoasoostos orpo!ychlorinatedbiphenyl(PC B).


        4.3.4 !ftheSubcontractordeems,inhisbest judgment,thesiteto be unsafe and isin
              fear     forthe     safetyofthetechniciansotlsite.1heSubcoritractorhasthe
                 righttoevacuatethe              siteuntit           the          siteisdeemedsafe.
                UponevacuatiomheSulJcontractorsha!lnoritytheContractorofthe sirua1ion.

 4.4    CLEANiNG UP

        4.4.1 TheSubcontractorshallkeepthepremisesand                                  surroundingarea
              freefromaccurnulation                                                                  of
                wastematerialsorrubbishcausedbyoperationsperformedunderthis
                agreement.                                                            This
                includessettingceilingtilesinplace,vacuuming, removalofcanle, packagingm
                aterialand                                                             the
                like.TheSubcontractorshallnotbeheldresponsfbleforuncleanconditionscaus
                edby     other   contractorsorsubcontractors.TheSubcontractorshallnotify
                Contractorintheevent.thatany other subcontractors,whohavebeenonsite.
                reave debrisonrash.

 4.5    WARRANTY

        4.5.1 The Subcontracror warrants to the                    Owner and      Contractor       tllat
                materials and equipment furnished under this Subcontract will be of good
                qualii.y,           new                      and            matches             project
                spedficationsunlessatherwiserequiredorpermittedby
                theSubcontractDocuments, thatthe work ofthisSubcontr acl.wiflbcfrcefrom
                defects,       andthatthewor1<V1illconformwiththerequiremenls                        of
                theSubcontractDocuments.

        4.5.2 Worknorcontormingto            theserequirements,            including      substitutions


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                  notproperlyapprovedand       authorized ,maybeconsidereddefective.
                  T heSubcontr actor'swarr antyexcludesremedy                     for
                  damageordefectcausedbyabuse,modiftcalionsnotexecutedhy
                  theSubcontractor.
                  improperorinsufficientmaintenance.improperoperation,ornormal\Near<:lnd
                  tearunder                    normal usage.                 Thiswarranty
                  shaJ!belnadditiontoandnotinlimitationofanyothefWarranty               or
                  remedyrequiredbylaworbytheSubcontractDocuments.

         4.5.3 Materialandlaborsuppliedby
               theSubcontractor'Alillbewarrantedforaperiodofoneyear
                  fromthedatethatthecomractoracceptedthework.Thematerialwarrani:y
                 willbethatofthe manufactureriflongerthanoneyear.

    4.6 INDEMNIFICATION

         4.6.l Tothetullestextentpermittedby1aw,                     theSubcontracror
               shallindemnityandholdharmless the Owner ,Contractor.Contractor's
               consultants.officers.                             agentsandernp!oyees
               1romandagainstclaims,damages,rossesandexpenses.                fncluding
               butnotlimited                ro             attorney'sfees.arisingoutof
               orresultingfromperformanceof       the Subcontractor's       workunder
               thisSubcontract, including but not limited to claims for bodily injury,
               sickness,diseaseordeath.ortoinjurytoordestructtonof
               tangibleproperfy{other     lhan   the     workitseH)including     lossof
               useresultingtherefrom.tmtonlytotheextentcaused        i nwholeor       in
               parlbynegligemacts oromissions of theSubcontractor,anyonedirectJyor
               indirectlyemployedbythemoranyonefor wtioseacts they maybeliable,
               regardless of vvhether omotsuchclaim,damage.lossorexpense is
               caused in part byapartyindemnified hereunder.

         4.6.2 In              ciaimsagainstanypersonorentttyindemniiied         unr.ierthis
                 Paragraph4. 6byanemployeeof               theSubconrractor ,anyonedirecfty
                 orinctirectly                                   e mployedbythemoranyone
                 torwhoseactstheymaybeliable, thei ndemniticationobligation
                 underthisParagraph4.6shallnotbelimitec.1by
                 alimitationonamountortypeofdamages, compensationorbenefitspayableby
                 orfortheSubcontractorortheSubcontractor'sSub·
                 subcontractorsunderworkers'orworkmen'scompensationacts.disabilityben
                 efitactsor otheremployeebenefitacts.

  4.7    REMEOIESFORNONPAYMENT

         4.7.1
                        lftheComractordoesnotpaytheSubconuactorthroughnofaullottheSub
                 contractor.within 60daysfromthetimepayment shouldbe
                 madeasprovidedinthisagreement, the Subcontractormay .


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                 withoutpre}udiceto otheravailableremedies,uponsevenadditionaldays'
                 writtennoticetotheCont,actor, stoptheworkofthisSubcontractuntilpayment
                 oftheamount owing hasbeenreceived.


 ARTICLES        CHANGESIN IHEWQR~

  5.1
                TheContractormaymakechangesinthe1.1>JOrkbyJssuingachangeorder_ Uponr
        ecei ptofsucha        moditrcationissuedsubseq uenttmhe        executionofthe
        Subcontr actAgreement, the                                         Contractor
        shalfpromptlynotify1heSubcontractorofthemodification_
        Unlessotherwisedirectedbythe
        Contractor,theSubcontracmrstlallnotthereaftemrder materialsorperformworkthat
        wouldbe                      inconsistenr                     \IViththechanges
        madebyrnemodlticationstothePrlmecontract.

  5.2   The Subcontractor may be ordered in writing by the Contractor. INithout
        invalldating   this    Subcomracl, to     mal<echangesinthcwor kwithinthegener al
        scopeofthlsSubcontractconsisting
        ofadditions,deletionsorotherrevisians,includingthose
        requiredbymodificationstolheContract bet..veentheContractorandth~Contractor's
        customer,issuodsubsequentto                    theexecutionof               this
        Agreement,theSubcontractSumandtheSubcontractTimebeingadjustedaccordingl
        y.         The Subcontractor.priortothe commencementofsuch changedor
        revisedwork.                 shall                submit                promptly
        totheContractorwrittencopiesotad}ustmentstotheSubcontractSurnand
        Subcontract                      Timeforsuch                     revisedworkina
        mannerconsistentwithrequirementsofthe Subcontract Documents.


[\RI !CLE6       WAf\LER OE JURY TRIAL; ARBCIRAIJQtJ

 6.1    THE PARTIES HERETOWAIVE ANY AND ALL RIGHTS TO A TRIAL BY JURY
        ANO STIPULATE THAT ANY AND ALL DISPUTES BETWEEN THE PARTIES
        HERETO SHALL BE SUBMIITED TO ARBITRATION TO BE CONDUCTED IN
        THE STATE OF GEORGIA.

 6.2    The Arbitration shall be conducted in accordance with the Rules of the American
        Arbitration Association as applied to the construction industry, unless the parries
        mutually agree otherwise.

 6.3    The parties stipulate and agree that no third pa1ties shall be joined, by
        consolidation or joinder, or in any other manner. in any such arbitration unless il
        is shovm at the time the demand of arbitration is fited that (1) such person or
        entity rs substantially ;nvolved in a common question of tac< or law; and (2) the

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         presence of such person or entity is required for complete relief to be attorded in
         the arbitration.

  6.4    The award entefed by the arbitrator or arbitration panel shall be Ehe final
         award as to any dispute between the parties. The parties stipulate and agree
         that any court in the state of Georgia shall have jurisdiction over the parties
         with regard to entering a judgment on the arbitration award and the parties
         further stipulate that venue is proper in any state or superior court in the srate
         of Georgia.

  6.5    The parties stipulate and agree that the laws of the state of Georgia shall
         apply to any disputes arising between the parties. both as to the interpretation
         and the enforcement of this agreement and the rights of the pa,ttes hereto.


 ARIJCLEZ         I.EBMINAIION BY CONTRACTOR: NON-ASSIGNA£H~ QE
SUBCOITTRACI

  7.1    TERMINATIONBYTHECONTRACTOR

         7.1.1 In the event the Subcontractor is in breach of the terms of this Agrcemant
               or fails to perform its scope of work in accordance 1Nit'1 the subcontract
               document or in any way fails to perforrn in accordance with thls
               ctgu:!etn~nt. CuntJactor ~hall notify Subcontractor in writing ot rhe natLJH:!
               and extent of Subcontracror's breach. rn event Subcontractor has failed
               to remedy such default within three V110rking days of the date of
               Contractor's notice, Contractor shall have the right to terminate this
               subcontract, or a portion of the scope of work In such event, Contractor
               shall have the right to employ such other persons or entitles as may be
               necessary to remedy Subcontractor's default, and shall have the right to
               charge any such expense incurred (or the reasonable value of such work
               in the event Contractor cures such default on ilS own), and shall have the
               right to charge such expenses against any balance due to Subcontractor
               under this agreement. To the e><tent the expense incurred by the
               Contractor to cure Subcontractor's default exceeds any amounts owed to
               Subcontractor, Subcontractor shaJl reimburse Contractor any such
               amounts within thirty {30) days of written notification by the Contractor.




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          7 .1.2 Outofconvenience, theContractormayter mi natethiscontrac1andany
                  resultingpurchase ordersfor specific p<ojects.

   7.2    NON·ASSIGNMENTOFTHESUBCONTRACT; RESTRICTION ON SECOND
          OR THIRD TIER SUBCONTRACTING

          7.2.1 TheSubcontractorshallnotassignthisSubcontract or any work to be
                performed    hereunder      vvirhoutthe  prior  w,ritten consentof
                  theContractor.Subcontractor is prohibited from second or third tier
                  subcontracting '1vlth any other person or entity without the prior wriUen
                  consent of the Contractor.

          7.2.2
                            lntheeventpermissioriisgiventotheSubcontractortaassigntheworkco
                  rmactedby             the             Contracror.andonrequestoftheContractor.
                  tf}e~lJl:>~ontr<l.ctorwilldisclosettienamesofthe
                  contractorsthatwill performworkonaspecific project.


 ARI!CLEB         SCOPE QE WORK

   8.1   Subcontractorshaflperform and provide labor and materials as described in the
         purchase order llocurnents which shall include all latJor, materials, equipment,
         services and other items required to complete the scof)e of work of rhe
         Subcontract.

  8.2
                 SubcontracmriMilnotpurchasematerialsthatcannotbereturnedbytheSllbcon
         tractortoits          originorsupplier.TheSubcomractorwillnotbilttheContractor,
         theContractor·s                    customerorthe                      business
         wherematerialsareinstalled.Contmctorwillnotbeliableforreturnorrestocking
         chargesincurredbythe        Subcontractor         formaterialnotusedon   a
         specifrcprojectunlessit ismade knownto thcContractorbetore \'\.'O(kbegin~.
         isstatedon the Subcontractor'spurchaseorder from the Contractor.


 ARIJCLE9 DATEOFCOMMENkEMENTAND SUBSIANT IAL<;CQMfLETJON

  9.1    The Subcontractor's date         ot commencement is the date from wt11ch the
         Contract          Time            of    Paragfaph9.3ismeasured;itshallbethedate
         ofthisagreement,asfirst'Nl'ittenabove.un1essa           differe11tdate   isstatedbelow
         orprovisionismadeforthedate            to be       fixedinanoticetoproceed       issued
         bytheContracroronaspecific purchaseorder.

  9.2    TheworkottnisSubcontractshallbecompletednolaterthan              the    scheduledates
         attachedtorhe               purchaseorderassociatedwitha                specificproject.


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         ThesedatesareconsideredtobefinaLDelays
          beyondthrsdateacenotacceptable.11\vorkisdelayedbeyondthetimesanddatesnoted
         inthe Contractor purchase order to the Subcontractor, Subcontractor vvill work
         overtime r          work      vveekends. holidaysandtakewhatevermeansneeded
         tobringtheschedutetoan•·onschedule
         status". Costsassociatedwiththesechar geswillbethe
         Subcontractor'sunlessagreeddifferently                                              in
         writingbyboththeContractorandSubcontractor .Time          isof   theessenceof      this
         Subcontract.

   9.3
                  Noextensionoftime1tvillbevalidwithouttheContractor'swrittenconsentaherclai
         mmadebythe Subcontractor in accordancewilh Paragraph5.2.


 ARTICLE10 SUBCONIRACTSUM

  10.1 See PurchaseOrder.


 ABIICLE11 fAYMENIS

  11.1 Payment of invoices will be net 45 upon 100% completion of a project and receipt
         of all required documentation necessary for Contractor to invoice customer.

  11.2 Receipt of signed lien waivers shall be a condition precedent to the payment ot
       any invoice submitted by Contractor.


 ARIICLE12 FINALPAYMENI

  12.1 The Contractor shaJI make rinal payment. constituting the entire unpaid bafanc.e
         of the SubcontractSum,totheSubcontrac:tor.NhenlheSubcontractm'sworkisfuHy
         performedin accordance Withtherequirements of theContractDocuments.

  12.2
                 Beforeissuanceofthefinalpayrnent.tt1eSubcontractor,ifrequired,shallsubrnit
         evidence           satisfactory   totheContractorthatallpayrolls,billsformaterialsand
         equipment.                               and                                 all known
         indebtednessconnected\l\liththeSubcontractor'sworkhavebeen            satisfied.
         TheSubcontractor shall. ifrequiredprovidereleaseof Lienandprooiot payment.


 ARTJCLE13 U)ISUBANCEAND BONDS



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  13.l The Subcontmctor shallpurchaseandmaintaininsurance of thefollowlngtypes of
       coverageand limitsof liability: $2.000,000 Generamabitity; $1,000,000
       Workmen's Compensation

        Subcontractorst1alljssueacertificateof;nsurancebeforestartlngworkonany
        customersite      ofContractor.             Contractorandanyc on tractor
        customerwillbenamedasaddttionallnsuredon                  Subcontractor's
        insurancecertificate.

  13.2 Coverage,whetherwrittenonanoccurrenceorclaims-
       madebasis,shallbemaintainedwithout
       lnterruptionfromdateofcommencementoftheSubconrractor'sworkuntildateoffinal
       payment        and   terminalionof anycoveragerequiredtobemaintainedafter
       finalpayrnent.

 13.3
                CertificatesotinsuranceacceptabletotheContractofshaJlbefifedvviththeContr
        actorprrorto        commenccmentoftheSubcontractor's\'\'Ork. Thesecertificatesand
        rheinsurancepolicies                                                   requireoby
        this.Articlel3shallcontainaprovislomhatcoverageaffordedunderthepoficieswiH
        notbecancelledorallowedtoexpireuntilatleast30days·priorwrittennoticehasbeen
        givento                                                           theContractor.
        lfanyortheforegoingtnsurancecoveragesarerequiredtoremaininforceafte<
        finalpaymentandarereasonably
        availabJe,anadditionalcertlficateevidencingcontinuationof
        suchcoverageshallbesubmittedwiththefinalapphcationforpaymentasrequiredirv\rti
        clel2.      lftheinsurerdoesnotfurnishanyinformation       concerningreductionof
        coverage.the Subcontractor shallfumish it with          reasonable promptness
        according to thesubcontractor's information andbelief.

 13.4 W aiversofSubrogation.
        TheContractorandSubcontractorwaiveaJlrightsugainst(l)each        otherandany
        ottheirSubcontractors.agentsandemployees.eachofthe other, and (2) the
        O\'vner. the owner's consultams, separate contractors, and        anyof their
        subcontractors,agentsandemployeesfordamagescausedby fireorother perils.
        TheSubcontractorsha!lrequireeachofthe                   Subcon(ractor'sagents
        andemployees,byappropriateagreemants,writtenwherelegallyrequiredtorva11d1ty,s
        imilar             waiversinfavorofotherpartiesenumerated              herein.
        Tl1epoliciesshallprovidesuch1,vaivcrsof subrogationbyendorsementorotherwise.
        Awaiverofsubrogationshallbeetfectiveastoa
        personoremityeventhoughthalpersonorentity'NOuldothet"Nisehaveadutyof
        indemnification, contractuaJorotnerwise ,didnorpayltleinsur ancepremiurndi<eclly
        orindlrect1y,andV1.tietherOf not thepersonorentiryhadaninsurable interest in
        thepropertydamaged.

 13.5


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                  TheContractorshallpromptly. uponrequestoftheSubcontractor, tumishacopy
           orpermita copytobemadeof anybondcoveringpaymentof
           obligationsarisingundertheSubcontract.

   13.6 Performance BondandPayment Bond:Requiredif noted on
           Contractorpurc haseorder.




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 !BIJ.CLE15 MISCELLANEOUS PROVISIONS
  15.1
                Wherereferenceismadeinthisagreementtoaprovisionotthegeneralcondition
         sora.nother         SubcontractDocument. the           referencereferstothat
         provisionasamendect     or    supplemented     by     otherprovlsions     of
         theSubcontractDocuments.


 ABIICLE16 ENUMERATION OFSU~QblTRACIOOCUMENIS

  16.1
                TheSubcomractDocuments,exceptformodificationsissuedafterexecutionof
         thlsagreement are enumeratedasfollom:

         16.1.1    Tl1isexecutedCoLiant                                       Solutions,
                   Inc.standardFormofAgreementbet\tVeenContr actorand Subcontractor,
                   2015Edition.

         16.1.2   Othe1 documents,ifany,formingpartot
                  theSubcontractDocumentsareasfollows:

                  PurchaseordersthatincludelnstructionstoSubcontractor,addenda,p
                  erformance schedules, submittatsanu specialinstructionsto the
                  Subcontractor.

 This agreemententeredinto asof Chedayandyear tirs1wntrP.nr\hove.


 COLIANT SOLUTfONS, INC.




 Ken Stallings                                Another Helper
 {Signature)                                  (Signature)
                                                   • /,,_,~··         Ir)
 Ken Stallings, President                               ·       yrux;.:&
 Coliant Solutions, 1nc.                      (Pr in{ Name and Title)
                                                       ( -') ·:C.'.:;i5-
                                              (Date)




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                 THE HARTFORD                                                             September 10, 2020
                 EASTERN GL OFFICE
                 PO BOX 14263
                 LEXINGTON KY 40512




Another Helper
97 Co Road 1471
Cullman AL 35055




Re:   Insured:           COLIANT SOLUTIONS INC
      Claimant           Diane Roberts
       Date of Loss:     October 1, 2017
      Event Number:      GL0018786995
      Claim Number:      Y43 L 98167

Dear Another Helper:

Please be advised that Hartford Casualty Insurance Company is the General Liability insurance carrier for Coliant
Solutions Inc.

Based on the information currently known to us, on 10/1/2017, Diane Roberts, an employee of Wal-Mart was at
s10re ftS87 in Petal, MS when a portion of ceiling tile fell and struck her. It was determined lhat the ceiling tile that
fell had an unattached security camera and was installed by your company.

This letter will serve as formal tender of defense and indemnification of the above·refernnced loss and a request
that Another HeJper provide our policyholder with additional named insured coverage under your general liability
policy.

We direct your attention to Article 13 of the Master Subcontract Agreement, which contains the following
insurance obligations.

        13.1 The Subcontractor shall purchase and maintain insur(Jnce of rhe following types of
        Coverage ond limits of liability: $2,ooa,ooa General liability; Sl,000,000 Workmen's Compensation

        Subcontrnctor shalJ issue a certificate of insurance before starting work on orty C11stomer' sfte of
        Contractor. Contr(JctCr and any Contractor Customer will be named os additional insured on
        Subcontractor's Insurance certificate.

We also direc:t your attention to the attached Certificate of Insurance {if applicable} issued to Another Helper
under policy# L155000960·1. Coliant Solutions is referenced as an additional insured under your General Liability
policy.




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                                                                                                f,_~err                     'I
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In addition, we believe that Another Helper is. obligated to defend, indemnify and hold harmless Coliant Solutions
for the above reference claim being made by Diane Roberts. We direct your attention to section 4.6
Indemnification, which contains the following indemnification obligations.



         4.6 INDEMNIFICATION

               4.6.1 To the fullest extenc permitted oy law, the Subcontractor Sholl indemnify oncl hold harmless the
               Owfler, Contractor, Contractor's consultants, officers, ogents and employees From and agcinsr claims,
               damages, losses and expenses, including Bur not limited to attorney's fees, arising out of or re$ulting
               from performance of the Subcontractor's work under This Subcontract, including bur not limited ro
               clafms /ot bodily injury, sickness, disease or death, or to injury to or destruction of Tangible
               property(other than the work itself}including loss of Use resulting there from, but only to the
               extent caused in whole or in Part by negfigent acts or omissions of the Subcontraccor, anyone
               directly or indirectly empfoyed by them or anyone for whose acts they may be Hobie, regardless of
               whether or not such claim, damage, loss or expense is caused in part by a party indemnified
               hereunder.


At this time, we ask that you respond as fallows:

     •       Acknowledge that Another Helper will afford insurance cover<Jge to Coliant Solutions as an additional
             named insured and I or defend and indemnify Coliant Solutions.
     •       Provide us with a complete copy of the applicable commercial general liability policy, as weH as any
             applicable excess policy with your company.
     •       Should a re!ease be signed that Coliant Solutions Inc & Hartford Casualty Insurance Company be listed
             on the release and provided copies.

Thank you h1 advance for your anticipated prompt attention to the above. lf there are any questions or concerns
please do not hesitate to contact me, otherwise I ask that we be furnished with your response and the requested
materials within the next 15 da-,·s.


Sincerely,


..(/:)/(/.I           /
  z:y-1'~ "f::_.W/{/dr>n·
Lyle Congdon
Claim Representative
Direct Number: {860) 737 - 4321
Tort Free Number: (888) 525 - 2652 Ext. 2307862
Fax: (866) 809 • 1178
lyle.congdo11@thehartford.com

Writing Company N<lme: Hartrord Casualty Insurance Company

CC: Sedgwick CMS via Email

Enctosures:




MT00057
                                                       Page 2 of 2
   Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 45 of 73


case: 18Cl1:20-cv-00132        Document#: 11        Filed: 02/24/2021      Page 23 of 24




                            MASTERSUBCONTRACTAGREEMENT

        This Master Agreement is entered into between Colinnt Solutions, Inc.
 {hereinafter ''Contractor") and Another Helper  (hereinafter "Subcontractor") made
 and entered into as of June 2                  . 2015.

        Subcontractor acknowledges that Contractor has entered into a contract with
 Another Helper           {"Owner") for a certain project located in Alabama
 rPrime Contract"), and this Agreement with Conrrnclor Is for the provision of services
 as part of the project.     For and in consideration ot other good and valuable
 considerations, including the promises set forth herein, the receipt and sufficiency ot
 \Nhich are acknowledged, the panies do hereby agree as follows:

 ARTICLEl THE SUBCONTRACTDOCUMENIS

  1.1   TheSubcontractDocuments consistof(l)thisagreemem; (2) the purchase
        order(s); (3) otherdocuments listed in Article16 ofthisagrnetnent;and (4) written
        modificat.ionstothisSubcomract executed by both Contractor and Subcontractor,
        u     any.           These    documents         are      material     to     and
        fromtheSubcontract.andareasfullyapartottheSubcontractasifattached
        tothisAgreementor                             set                           forth
        herein.TheSubcontractrepresentstheentireagreementbetvveenthepartiesheretoa
        ndsupersedespriornegotiations,                                  representationsor
         agreernents.eitherwrittenororal.AnenumerationoftheSubcontractDocuments,oth~
        r than modificationslssued subsequenttotheaxecutionof thisagreement.appearin
        Art1clel6.

 1.2
              Tr1eSubcantr acmrshallbefurnishedcopyofthe Subcornr actDocumentsu ponr
        equest.butthe Contractor may charge the Subcontractor for the cost of
        Reproduction.

 1.3    Thls Subcontract Agreement shall not be construed to create a contractual
        relationship of any kind between the Subcontractor and the Owner.
        Subcontractor acknowledges that its only contract with regard to the project is
        with Contractor, on the terms and conditions set forth herein


 ARTICLE 2 MUTUAL RIGHTS AND RESPONSIBILITIES [DELETED]


 ARTICLE3 CONTRACTORS

 3.1    SERVICESPROVIOEDBVTHECONTRACTOR

        3.1.1 The contractor    shall cooperare v.1th the Subcomracwr in scheduling


                                                                                     EXHISIT
                                                                                               I
Ri:vlsed Januasy 06. 2015                   -1-


                                                                                      A
    Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 46 of 73

 case: 1sc11:20-cv-OOl32       Document#: 11         Filed: 02/24/2021     Page 24 of 24


Solutions, Inc. has acted with reasonable diligence to correct the entry of default.

The Defendant's failure to act was not willful, setting aside the entry of default will

not prejudice the plaintiff, and the Defendant has vaHd nnd meritorious defenses to

the merits of Plaintiff ~s claims. Plaintiff would suffer no irreparable injury if the

entry of default is set aside. Defendant Coliant Solutions, lnc. will he prejudiced by

suffering a default judgment on Plaintiff's allegations and Hgood causeJJ exists for

this court to set aside the clcrk 1s entry (>f default.

       WHEREFORE, PREMISES CONSIDERED, Defendant Colianc Solutions, 1nc.

requests that this Court set aside chc clerk is Entry of Default. Defendant CoJi:rnt

Solutions, Inc. further requests such orher relief co which it may be entitled as a

matter of equity or law.

       Respectfully submitted, this the    i~th   day of Fcbruarv, 2021.




H. Wesle}' 'WiHiams, III
MS Bar No. 9320
Cecelia Virden
MS Bar No. 105199
Markow Walker, PA
Post Office Box 13669
Jackson, MS 39236-3669
Telephone; 601-853-1911
Facsimile: 601-853-8284
E-mail: wwilliams@markowwalker.com
E-mail: cvinlen@markowwalker.com
Counsel for Colian/ Solutions> inc.




                                              7
     Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 47 of 73

   Case: 18Cl1:20-cv-00132      Document#: 12       Filed: 03/04/2021     Page 1 of 2



                           IN THE CIRCUIT COURT OF
                         FORREST COUNTY, MISSISSIPPI




Diane Roberts,                                  Cause No. 18Cll:20-cv-132

                                   Plaintiff

      v.                                        Notice of Service


Coliant Solutions, Inc., Mark Beard,
and John Does 1 through 5,
Individually, Jointly and Severally,


                                 Defendant




      NOTICE is hereby given, pursuant to Mississippi Rules of Civil Procedure,

that the Defendant, Coliant Solutions, Inc. has this date served the following:


     Coliant Solutions) Inc. )s Requests for Admissions to Plaintiffi Diane Roberts


      The undersigned retains the original of the above as custodian thereof.

      Respectfully submitted, this the 4th day of March, 2021.
     Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 48 of 73


   Case: 18Cl1:20-cv-00132        Document#: 12        Filed: 03/04/2021   Page 2 of 2


H. Wesley Williams, III
MS Bar No. 9320
Cecelia Virden
MS Bar No. 105199
Markow Walker, PA
Post Office Box 13669
Jackson, MS 39236-3669
Telephone: 601-853-1911
Facsimile: 601-853-8284
E-mail: wwilliams@markowwalker.com
E-mail: cvirden@markowwalker.com
Counsel for Coliant Solutions) Inc.

                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the above and foregoing Pleading was

this day forwarded to all counsel of record by depositing a copy of same via:



                    O     United States Mail     O    Certified Mail
                    O     Facsimile              O    Hand Delivery
                    O     Email                  O    Overnight Mail
                    l8J   ECF System


      THIS the 4th day of March, 2021.



                                               H. Wesle)Tilliams, III
     Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 49 of 73


    Case: 18Cl1:20-cv-00132        Document#: 13       Filed: 03/05/2021     Page 1 of 2



                              IN THE CIRCUIT COURT OF
                            FORREST COUNTY, MISSISSIPPI




Diane Roberts,                                     Cause No. 18Cl1:20-cv-132

                                      Plaintiff

      v.                                           Notice of Service


Coliant Solutions, Inc., Mark Beard,
and John Does I through 5,
Individually; Jointly and Severally,


                                    Defendant




      NOTICE is hereby given, pursuant to Mississippi Rules of Civil Procedure,

that the Defendant, Coliant Solutions, Inc. has this date served the following:


           Coliant Solutions) Inc. )s First Interrogatories and Requests for Production of
                                    Documents to Plaintiff

      The undersigned retains the original of the above as custodian thereof.

      Respectfully submitted, this the 5th day of March, 2021.
     Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 50 of 73

   Case: 18Cl1:20-cv-00132        Document#: 13     Filed: 03/05/2021   Page 2 of 2


H. Wesley Williams, III
MS Bar No. 9320
Cecelia Virden
MS Bar No. 105199
Markow Walker, PA
Post Office Box 13669
Jackson, MS 39236-3669
Telephone: 601-853-1911
Facsimile: 601-853-8284
E-mail: wwilliams@markowwalker.com
E-mail: cvirden@markowwalker.com
Counsel for Coliant Solutions.) Inc.

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this day forwarded to all counsel of record by depositing a copy of same via:



                    O     United States Mail   O   Certified Mail
                    O     Facsimile            O   Hand Delivery
                    O     Email                D   Overnight Mail
                    !81   ECF System


      THIS the 5th day of March, 2021.
     Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 51 of 73


    Case: 18Cl1:20-cv-00132        Document#: 13        Filed: 03/05/2021     Page 1 of 2



                              IN THE CIRCUIT COURT OF
                            FORREST COUNTY, MISSISSIPPI




Diane Roberts,                                     Cause No. 18Cll:20-cv-132

                                      Plaintiff

      v.                                           Notice of Service


Coliant Solutions, Inc., Mark Beard,
andJohn Does 1 througlt 5,
Individually, Jointly and Severally,


                                    Defendant




      NOTICE is hereby given, pursuant to Mississippi Rules of Civil Procedure,

that the Defendant, Coliant Solutions, Inc. has this date served the following:


           Coliant Solutions.) Inc. )s First Interrogatories and Requests for Production of
                                     Documents to Plaintiff

      The undersigned retains the original of the above as custodian thereof.

      Respectfully submitted, this the 5th day of March, 2021.
       Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 52 of 73


   Case: 18Cl1:20-cv-00132      Document#: 14      Filed: 03/12/2021   Page 1of3


                              IN THE CIRCUIT COURT OF
                            FORREST COUNTY, MISSISSIPPI




  Diane Roberts,                                 Cause No. 18Cll:20-cv-132

                                     Plaintiff

         v.                                      Request for Civil Subpoena Duces
                                                 Te cum

  Coliant Solutions, Inc., Mark Beard,
  and John Does 1 through 5,
  Individually,Jointly andSeverally,


                                  Defendant




 To:   Gwen Wilks
       Circuit Court Clerk
       P.O. Box 992
       Hattiesburg, MS 39403

       YOU ARE REQUESTED to issue the Subpoenas Duces Tecum summoning

the records custodian for the following:

       Wal-Mart Stores East, LP
       Records Custodian
       C T Corporation System
       645 Lakeland East Drive, Suite 101
       Flowood, MS 39232

   To be and appear at the offices of Markow Walker, P.A., 599 599 Highland Colony

Parkway, Suite 100, Ridgeland, Mississippi, 39157, fifteen days from receipt of the

subpoena, and to produce and bring with him/her the following documents, or in the

alternative, to mail the documents listed below to Markow Walker, P.A., P. 0. Box

13669, Jackson, Mississippi 39236-3669, Attention: Wes Williams, Esq.:
     Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 53 of 73

   Case: 18Cl1:20-cv-00132        Document#: 13     Filed: 03/05/2021   Page 2 of 2


H. Wesley Williams, III
MS Bar No. 9320
Cecelia Virden
MS Bar No. 105199
Markow Walker, PA
Post Office Box 13669
Jackson, MS 39236-3669
Telephone: 601-853-1911
Facsimile: 601-853-8284
E-mail: wwilliams@markowwalker.com
E-mail: cvirden@markowwalker.com
Counsel for Coliant Solutions~ Inc.

                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the above and foregoing Pleading was

this day forwarded to all counsel of record by depositing a copy of same via:



                    D     United States Mail   D   Certified Mail
                    D     Facsimile            D   Hand Delivery
                    D     Email                D   Overnight Mail
                    181   ECF System


      THIS the 5th day of March, 2021.
      Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 54 of 73


  Case: 18Cl1:20-cv-00132       Document#: 14        Filed: 03/12/2021   Page 2 of 3



  With respect to the accident which occurred on October 1, 2017, involving

Walmart employee Diane Roberts, please produce:

  •    First report of injury of Employer (Form B-3)

  •    Incident Report

  •    Written or recorded statements from any witnesses, including Diane Roberts.

  •    Video recording or footage of the accident.

  •    Photos of the accident scene or of the Plaintiff.

  •    Medicalcertificates from any physician concerning Ms. Roberts' ability to

       return to work.

  •    W-2 forms issued to Ms. Roberts for tax years 2014 to 2020.

  •    Attendance records from 10/1/2017 to the present.

  •    Records showing the company that installed, maintained, or repaired the

       camera that allegedly struck Ms. Roberts in the head.

  •    Documents reflecting the scope of work of any company installing,

       maintaining, or repairing any security cameras in the Walmart store where

       this accident occurred on or about October 1, 2017.

  •   Personnel file of Diane Roberts, including but not limited to documents

      pertaining to her hiring, firing, promotion or demotion.

  •   Drug or alcohol testing performed on Ms. Roberts on or about October 1,

      2017.

      Respectfully submitted, this the   12rh   day of March, 2021.
     Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 55 of 73

   Case: 18Cl1:20-cv-00132        Document#: 14        Filed: 03/12/2021   Page 3 of 3



H. Wesley Williams, III
MS Bar No. 9320
Cecelia Virden
MS Bar No. 105199
Markow Walker, PA
Post Office Box 13669
Jackson, MS 39236-3669
Telephone: 601-853-1911
Facsimile: 601-853-8284
E-mail: wwilliams@markowwalker.com
E-mail: cvirden@markowwalker.com
Counsel for Collant Solutions; Inc.


                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the above and foregoing Pleading was

this day forwarded to all counsel of record by depositing a copy of same via:



                    D     United States Mail     D    Certified Mail

                    D     Facsimile              D    Hand Delivery

                    D     Email                  D    Overnight Mail
                    181   ECF System


      THIS the 12th day of March, 2021.



                                                q:{J~d,/-9-
                                               H. Wesley wiJ.Cms, Ill
        Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 56 of 73


  Case: 18Cl1:20-cv-00132        Document#: 14-1      Filed: 03/12/2021   Page 1 of 4

                            IN THE CIRCUIT COURT OF
                          FORREST COUNTY, MISSISSIPPI




             Diane Roberts,                       Cause No. 18CI1:20-cv-132

                                     Plaintiff

                   v.                             Subpoena Duces Tecum


            Coliant Solutions, Inc., Mark
            Beard, and John Does 1
            through 5;Individually,
            Jointly and Severally,

                                  Defendant




STATE OF MISSISSIPPI

COUNTY OF FORREST

To:      Any Person Authorized by Statute to Serve Process-
         Greetings:

         We Command You to Summon:

         Wal-Mart Stores East, LP
         Records Custodian
         C T Corporation System
         645 Lakeland East Drive, Suite 101
         Flowood, MS 39232

      Pursuant to Rule 45(b)(2) of the Mississippi Rules of Civil Procedure, to be and

appear at the offices of counsel for the defendants Markow Walker, P.A., 599 599

Highland Colony Parkway, Suite 100, Ridgeland, Mississippi, 39157, fifteen(lS) days

from service of the subpoena, and to produce with him/her the following documents,



                                              1
          Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 57 of 73

 Case: 18Cl1:20-cv-00132           Document#: 14-1       Filed: 03/12/2021   Page 2 of 4



or in the alternative, to mail the documents listed below to Markow Walker, P.A., P.

0. Box 13669, Jackson, Mississippi 39236-3669, Attention: Wes Williams, Esq.:

      With respect to the accident which occurred on October 1, 2017, involving

Walmart employee Diane Roberts, please produce:

      •    First report of injury of Employer (Form B-3)

   •       Incident Report

  •        Written or recorded statements from any witnesses, including Diane Roberts.

  •        Video recording or footage of the accident.

  •        Photos of the accident scene or of the Plaintiff.

  •        Medical certificates from any physician concerning Ms. Roberts' ability to

           return to work.

  •        W-2 forms issued to Ms. Roberts for tax years 2014 to 2020.

  •        Attendance records from 10/1/2017 to the present.

  •        Records showing the company that installed, maintained, or repaired the

           camera that allegedly struck Ms. Roberts in the head.

  •        Documents reflecting the scope of work of any company installing,

           maintaining, or repairing any security cameras in the Walmart store where

           this accident occurred on or about October 1, 2017.

  •       Personnel file of Diane Roberts, including but not limited to documents

          pertaining to her hiring, firing, promotion or demotion.

  •       Drug or alcohol testing performed on Ms. Roberts on or about October 1,

          2017.




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  Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 58 of 73


Case: 18Cl1:20-cv-00132   Document#: 14-1      Filed: 03/12/2021   Page 3 of 4



    Please issue this Subpoena immediately.


                                          GWEN WILKS
                                          CIRCUIT COURT CLERK


                                          By: _ _ _ _ _ _ _ _ __
                                              DEPUTY CLERK




                                      3
      Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 59 of 73


  Case: 18Cl1:20-cv-00132     Document#: 14-1         Filed: 03/12/2021   Page 4 of 4



                          IN THE CIRCUIT COURT OF
                        FORREST COUNTY, MISSISSIPPI




          Diane Roberts,                       Cause No. 18CI1:20-cv-132

                                  Plain tiff

                v.                             Proof of Services


          Coli ant Solutions, Inc., Mark
          Beard-,~and
                    JohnDoes 1
         through 5, Individually,
         Jointly and Severally,

                               Defendant




To:   Wal-Mart Stores East, LP
      Records Custodian
      C T Corporation System
      645 Lakeland East Drive, Suite 101
      Flowood, MS 39232


      I, the undersigned process server, do hereby certify that I have delivered the

above and foregoing Subpoena Duces Tecum by personally serving a copy of same




      This the __ day of _ _ _ _ _ _ _ _ , 2021.


                                               BY:
                                                     - -----------
                                                     Process Server




                                           4
           Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 60 of 73

'      Case: 18Cl1:20-cv-00132       Document#: 15       Filed: 03/15/2021   Page 1 of 4
                                IN THE CIRCUIT COURT OF
                              FORREST COUNTY, MISSISSIPPI




                Diane Roberts,                        Cause No. 18CI1:20-cv-132

                                         Plaintiff

                       v.                             Subpoena Duces Tecum


                Coliant Solutions, Inc., Mark
                Beard, and John Does I
                through 5, Individually,
                Jointly and Severally,

                                      Defendant




    STATE OF MISSISSIPPI

    COUNTY OF FORREST

    To:      Any Person Authorized by Statute to Serve Process-
             Greetings:

             We Command You to Summon:

             Wal-Mart Stores East, LP
             Records Custodian
             C T Corporation System
             645 Lakeland East Drive, Suite 101
             Flowood, MS 39232

          Pursuant to Rule 45(b)(2) of the Mississippi Rules of Civil Procedure, to be and

    appear at the offices of counsel for the defendants Markow Walker, P.A., 599 599

    Highland Colony Parkway, Suite 100, Ridgeland, Mississippi, 39157, fifteen(lS) days

    from service of the subpoena, and to produce with him/her the following documents,



                                                  1
       Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 61 of 73


  Case: 1sc11:20-cv-OOl32       Document#: 15       Filed: 03/15/2021   Page 2 of 4


or in the alternative, to mail the documents listed below to Markow Walker, P.A., P.

0. Box 13669, Jackson, Mississippi 39236-3669, Attention: Wes Williams, Esq.:

   With respect to the accident which occurred on October 1, 2017, involving

Walmart employee Diane Roberts, please produce:

   •    First report of injury of Employer (Form B-3)

   •    Incident Report

   •    Written or recorded statements from any witnesses, including Diane Roberts.

   •    Video recording or footage of the accident.
                                                  '
   •    Photos of the accident scene or of the Plaintiff.

   •    Medical certificates from any physician concerning Ms. Roberts' ability to

        return to work.

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  •     Records showing the company that installed, maintained, or repaired the

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  •     Drug or alcohol testing performed on Ms. Roberts on or about October 1,

        2017.




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 Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 62 of 73


Case: 1sc11:20-cv-00132   Document#: 15        Filed: 03/15/2021   Page 3 of 4


   Please issue this Subpoena immediately.


                                         GWEN WILKS
                                         CIRCUIT COURT CLERK


                                         By:                 p,
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                                               DEPUTY C ERK




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       Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 63 of 73

      case: 1sc11:20-cv-00132    Document#: 15       Filed: 03/15/2021   Page 4 of 4


                            IN THE CIRCUIT COURT OF
                          FORREST COUNTY, MISSISSIPPI




            Diane Roberts,                        Cause No. 18Cl1:20-cv-132

                                     Plaintiff

                   v.                             Proof of Services


            Coliant Solutions, Inc., Mark
            Beard, and John Does I
            through s,Individually,
            jointly and Severally,

                                  Defendant




To:      Wal-Mart Stores East, LP
         Records Custodian
         C T Corporation System
         645 Lakeland East Drive, Suite 101
         Flowood, MS 39232


         I, the undersigned process server, do hereby certify that I have delivered the

above and foregoing Subpoena Duces Tecum by personally serving a copy of same

upon - - - - - - - - - - -


        This the __ day of _ _ _ _ _ _ _ , 2021.



                                                     Process Server




                                              4
      Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 64 of 73


    Case: 18Cl1:20-cv-00132      Document#: 16      Filed: 03/17/2021   Page 1of4
'                                                                        Page 1of4
                              IN THE CIRCUIT COURT OF
                            FORREST COUNTY, MISSISSIPPI




              Diane Roberts,                       Cause No. 18CI1:20-cv-132

                                      Plaintiff

                     v.                            Subpoena Duces Tecum


              Coli ant Solutions, Inc., Mark
              Beard, and John Does 1
              through 5 1 lndividually,
              Jointly and Severally,

                                    Defendant




    STATE OF MISSISSIPPI

    COUNTY OF FORREST

    To:   Any Person Authorized by Statute to Serve Process-
          Greetings:

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          Records Custodian
          C T Corporation System
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          Flowood, MS 39232

       Pursuant to Rule 45(b)(2) of the Mississippi Rules of Civil Procedure, to be and

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    Highland Colony Parkway, Suite 100, Ridgeland, Mississippi, 39157, fifteen(15) days

    from service of the subpoena, and to produce with him/her the following documents,



                                               1
  Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 65 of 73



Case: 18Cl1:20-cv-00132         Document#: 16       Filed: 03/17/2021   Page 2 of 4




or in the alternative, to mail the documents listed below to Markow Walker, P.A., P.

0. Box 13669, Jackson, Mississippi 39236-3669, Attention: Wes Williams, Esq.:

      With respect to the accident which occurred on October 1, 2017 1 involving

Walmart employee Diane Roberts, please produce:

      •   First report of injury of Employer (Form B-3)

      •   Incident Report

      •   Written or recorded statements from any witnesses, including Diane Roberts.

   •      Video recording or footage of the accident.

   •      Photos of the accident scene or of the Plaintiff.

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  •       Drug or alcohol testing performed on Ms. Roberts on or about October 1,

          2017.




                                             2
 Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 66 of 73


Case: 18Cl1:20-cv-00132    Document#: 16        Filed: 03/17/2021   Page 3 of 4




      Please issue this Subpoena immediately.


                                            GWEN WILKS
                                            CIRCUIT COURT CLERK


                                           By:   V\f\ lA\l%1 P\ t Vt<   V   ·1_.

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   Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 67 of 73


Case: 18Cl1:20-cv-00132               Document#: 16          Filed: 03/17/2021             Page 4 of 4




                                  IN THE CIRCUIT COURT OF
                                FORREST COUNTY, MISSISSIPPI




             Diane Roberts,                               Cause No. 18Cll:20-cv-132

                                              Plaintiff

                      v.                                  Proof of Services


            (;(}li~ntS<>lutio_ns, Inc., Mark
            Beard, and John Does 1
            through 5, Individually,
            Jointly and Severally,

                                          Defendant




To:     Wal-Mart Stores East, LP
        Records Custodian
        C T Corporation System
        645 Lakeland East Drive, Suite 101
        Flowood, MS 39232


        I, the undersigned process server, do hereby certify that I have delivered the

above and foregoing Subpoena Duces Tecum by personally serving a copy of same
        11A A /'l /(/ 18 ~7' CA<.J Y           CI      Go tC.'Po rC.A ~ ~ ,,   1,,...(   7'§i-f,4<."f <> r"
upon F'                       'U                 .
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        This the /&.maay of          MA/C- crj            )2021.
                                                               /)                             ~
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  Case 2:21-cv-00057-KS-MTP Document 1-2 Filed 04/19/21 Page 68 of 73


Case: 18Cl1:20-cv-00132      Document#: 16      Filed: 03/17/2021   Page 1of4
                                                                     Page 1of4
                          IN THE CIRCUIT COURT OF
                        FORREST COUNTY 1 MISSISSIPPI




          Diane Roberts,                       Cause No. 18CII:20-cv-132

                                  Plaintiff

                V.                             Subpoena Duces Tecum


         Coliant Solutions, Inc., Mark
         Beard, and John Does 1
         thro11g1l 5,lnc}jvid ually,
         Jointly and Severally,

                                Defendant




STATE OF MISSISSIPPI

COUNTY OF FORREST

To:   Any Person Authorized by Statute to Serve Process-
      Greetings:

      We Command You to Summon:

      Wal-Mart Stores East, LP
      Records Custodian
      C T Corporation System
      645 Lakeland East Drive, Suite 101
      Flowood, MS 39232

   Pursuant to Rule 45(b)(2) of the Mississippi Rules of Civil Procedure, to be and

appear at the offices of counsel for the defendants Markow Walker, P.A., 599 599

Highland Colony Parkway, Suite 100, Ridgeland, Mississippi, 39157, fifteen(l5) days

from service of the subpoena, and to produce with him/her the following documents,



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or in the alternative, to mail the documents listed below to Markow Walker, P.A., P.

0. Box 13669, Jackson, Mississippi 39236-3669, Attention: Wes Williams, Esq.:

      With respect to the accident which occurred on October 1, 2017, involving

Walmart employee Diane Roberts, please produce:

      •   First report of injury of Employer (Form B-3)

      •   Incident Report

      •   Written or recorded statements from any witnesses, including Diane Roberts.

   •      Video recordingor footage of the accident.

   •      Photos of the accident scene or of the Plaintiff.

   •      Medical certificates from any physician concerning Ms. Roberts' ability to

          return to work.

   •      W-2 forms issued to Ms. Roberts for tax years 2014 to 2020.

   •      Attendance records from 10/1/2017 to the present.

   •      Records showing the company that installed, maintained, or repaired the

          camera that allegedly struck Ms. Roberts in the head.

   •      Documents reflecting the scope of work of any company installing,

          maintaining, or repairing any security cameras in the Walmart store where

          this accident occurred on or about October 1, 2017.

  •       Personnel file of Diane Roberts, including but not limited to documents

          pertaining to her hiring, firing, promotion or demotion.

  •       Drug or alcohol testing performed on Ms. Roberts on or about October 1,

          2017.




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      Please issue this Subpoena immediately.


                                            GWEN WILKS
                                            CIRCUIT COURT CLERK


                                            By:   V\J\ C\\' \1c-1   Q~ t   Vt <   V   ·1,_ •

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                            IN THE CIRCUIT COURT OF
                          FORREST COUNTY, MISSISSIPPI




            Diane Roberts,                           Cause No. 18CI1:20-cv-132

                                      Plaintiff

                  v.                                Proof of Services


           Coliant Solutions, Inc., Mark
           Bear~d,   anaJ cihn Does   1
           through 5, Individually,
           Jointly and Severally,

                                  Defendant




To:     Wal-Mart Stores East, LP
        Records Custodian
        CT Corporation System
        645 Lakeland East Drive, Suite 101
        Flowood, MS 39232


        I, the undersigned process server, do hereby certify that I have delivered the

above and foregoing Subpoena Duces Tecum by personally serving a copy of same

upon    / vtA'f'l /(J/18 cf'6AuY
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                                                    BY:e?:
                                                      Process Server




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                   IN THE CIRCUIT COURT OF FORREST COUNTY, MISSISSIPPI


DIANE ROBERTS                                                                         PLAINTIFF

v.                                                                 CAUSE NO. 18Cl1:20-cv-132

COLIANT SOLUTIONS, INC.,
MARK BEARD, AND JOHN DOES
1 THROUGH 5, INDIVIDUALLY,
JOINTLY and SEVERALLY                                                             DEFENDANTS


     NOTICE OF SERVICE OF RESPONSES TO DEFENDANT COLIANT SOLUTION
                INC'S FIRST SET OF REQUEST FOR ADMISSIONS


        Notice is hereby given, pursuant to the local rules, that Plaintiff, Diane Roberts, has this

date served in the above entitled action Plaintiffs Responses to Defendant Coliant Solution Inc's

First Set of Request for Admissions.

        The undersigned retains the originals of the above papers as custodian thereof pursuant to

the local rules.

        This the 2°d day of April, 2021.

                                              Respectfully Submitted,

                                              DIANE ROBERTS, PLAINITFF


                                       BY:    ls/Willie T Abston
                                              Willie T. Abston (MS Bar No. 9935)

Of Counsel:

WILLIE T. ABSTON, LLC
Post Office Box 320727
Flowood, MS 39232
Tel.: (601)487-8839
Fax: (601)487-8667
Email: willie.abston@abstonlaw.com
COUNSEL FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        I, Willie T. Abston, do hereby certify that I have this day electronically filed the

foregoing Notice of Service with the Clerk of Court using MEC system, which sent notification

of such filing to:

        H. Wesley Williams, III, Esq.
        Cecelia Virden, Esq.
        Markow Walker, PA
        Post Office Box 13669
        Jackson, MS 39236-3669
        Counsels for Coliant Solutions, Inc.

        This the 2°d day of April, 2021.


                                                         ls/Willie T Abston
                                                         Willie T. Abston
